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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION


STATE OF ILLINOIS,

                       Plaintiff,
                                                    Case No. 1:17-cv-06260
               v.                                   Honorable Robert M. Dow, Jr.

CITY OF CHICAGO,

                       Defendant.


                                    NOTICE OF MOTION

         PLEASE TAKE NOTICE that on Thursday, September 20, 2018, at 9:30 a.m., we shall
appear before the Honorable Robert M. Dow, Jr., or any judge sitting in his stead, in Room 2388
of the Everett McKinley Dirksen United States Courthouse, 219 S. Dearborn St., Chicago,
Illinois, 60604, to present the attached JOINT MOTION TO APPROVE PROPOSED
CONSENT DECREE, a copy of which has been electronically served on all parties of record.

Dated: September 13, 2018                           Respectfully submitted,

     For Plaintiff State of Illinois:                For Defendant City of Chicago:

     Lisa Madigan
     Attorney General of
     the State of Illinois

By: /s/ Cara A. Hendrickson                    By: /s/ Allan T. Slagel
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